                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                               Plaintiffs,

v.                                                                  No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                               Defendant.



CALLA WRIGHT, et al.,

                               Plaintiffs,

v.                                                                  No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                               Defendants.

______________________________________________________________________________

    DECLARATION OF ALLISON J. RIGGS IN SUPPORT OF PLAINTIFFS’ BILL OF
                               TAXABLE COSTS
______________________________________________________________________________


        I, Allison J. Riggs, declare under penalty of perjury that the following is true and correct:

     1. I am over the age of 18 years and competent to testify herein. I have personal knowledge

        of the matters stated herein. I submit this declaration in support of Plaintiffs’ Bill of




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         Taxable Costs submitted pursuant to Rule 54(d) of the Federal Rules of Civil Procedure,

         28 U.S.C. § 1920, and Local Rule 54.1 of the Eastern District of North Carolina.1

    2. I am a senior staff attorney at the Southern Coalition for Social Justice in Durham, NC.

         My organization was retained to represent Plaintiffs in above-titled actions.

    3. Plaintiffs seek recovery of $9,057.68 in taxable costs reasonably and necessarily incurred

         in the prosecution of this case.

    4. The Fourth Circuit Court of Appeals has already added appellate taxable costs in the

         amount $2,689.00 to the mandate issued in these consolidated cases.

    5. The following chart, which summarizes Plaintiffs’ taxable costs, is taken from

         contemporaneous, documented expense records regularly prepared and maintained by the

         Southern Coalition for Social Justice in the regular course of business.

                Category of                 Date          Vendor/Recipient           Amount            Appendix
               Expense/Cost                                                                           Containing
                                                                                                       Expense
                                                                                                     Documentation
     1          Filing Fee      8/22/2013                    EDNC Clerk              $400.00
     2       Appeal Fee (not     4/7/2014                    EDNC Clerk               $5.00
            awarded in 4th Cir.
                 Mandate)
     3          Filing Fee       4/7/2015                    EDNC Clerk              $400.00
     4     Transcription/Copy 11/18/2015                      Discovery             $1,041.75                 A
          of 4/17/13 hearing on    (paid                     Depositions
                 SB 325;         1/31/16)
           Transcription/Copy
           of 3/5/15 hearing on
                 SB 181;
           Transcription/Copy
          of 3/10/15 hearing on
                  SB 181
     5     Transcription/Copy   11/4/2015                       Discovery           $1,738.08                 B
          of 6/10/13 hearing on    (paid                        Depositions
                 SB 325;         1/31/16)
           Transcription/Copy
1
  Pursuant to the direction of Local Rule 54.1(a)(1), Plaintiffs are separately filing a motion for attorneys’ fees and
for costs non-taxable herein.

                                                            2

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             of 4/1/15;
       Transcription/Copy
       of 4/1/15 hearing on
              SB 181;
       Transcription/Copy
      of 3/12/15 hearing on
              SB 181;
       Transcription/Copy
      of 4/22/13 hearing on
              SB 325;
       Transcription/Copy
      of 3/11/15 hearing on
              SB 181
6         Trial Transcript      2/4/2016        David Collier,      $1,668.05          C
                                                Court Reporter
7       Appeal Fee (not        3/14/2016         EDNC Clerk          $5.00
       awarded in 4th Cir.
           Mandate)
8       Appeal Fee (not        3/14/2016          EDNC Clerk         $5.00
       awarded in 4th Cir.
           Mandate)
9       Transcript from         8/2/2016             Huseby         $4,970.99          D
         RWCA/Wright
        Remedy Hearing
10     Appellate Taxable         9/6/12         4th Circuit Court   $2,689.80          E
      Costs Awarded in 4th                      of Appeals Clerk
          Cir. Mandate


6. I personally prepared Appendices A through E based upon a review of contemporaneous

     expense records maintained by the Southern Coalition for Social Justice, and believe

     them to be true and correct. Except for fees paid to the court, each appendix contains not

     only the invoice for the cost incurred, but proof of payment by the Southern Coalition for

     Social Justice. I further certify that the expenses and costs incurred were necessarily

     incurred in the preparation and presentation of the case.

7. Specifically, in regards to each of the expense/cost entries in the chart above, I provide

     the additional explanation of the costs:



                                                 3

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 a. Entry 1 is the filing fee incurred for filing the complaint in Wright et al., v. State

    of North Carolina, et al., Case No. 5:13-cv-607 (E.D.N.C.) on August 22, 2013.

 b. Entry 2 is the appeal fee, minus the amount award via the bill for appellate taxable

    costs, incurred for the filing of the notice of appeal from the District Court’s

    12(b)(6) dismissal of Wright et al., v. State of North Carolina, et al., Case No.

    5:13-cv-607.

 c. Entry 3 is the filing fee incurred for filing the complaint in Raleigh Wake Citizens

    Ass’n et al., v. Wake County Bd. of Elections, et al., (“RWCA”) Case No. 5:15-cv-

    607 (E.D.N.C.) on April 7, 2015.

 d. Entries 4 and 5 are the fees incurred from having publicly available audio files

    transcribed and a single copy of each of those transcripts obtained for each of the

    committee and floor hearings on the two bills challenged in this litigation. These

    were necessary for the development of the case, preparation of witnesses, and

    were used as trial exhibits.

 e. Entry 6 is the fee incurred for obtaining transcripts of the three-day trial held in

    the above-captioned consolidated matters. The transcript was obtained from

    David J. Collier, court reporter for the U.S. District Court for the Eastern District

    of North Carolina. Only an electronic version of the transcript was ordered, and

    the order was not expedited. The procurement of the transcript was necessary for

    the appeal.

 f. Entry 7 is the appeal fee, minus the amount award via the bill for appellate taxable

    costs, incurred for the filing of the notice of appeal from the District Court’s entry




                                        4

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               of judgment against plaintiffs in RWCA et al., v. Wake County Bd. of Elections,

               Case No. 5:15-cv-156.

           g. Entry 8 is the appeal fee, minus the amount award via the bill for appellate taxable

               costs, incurred for the filing of the notice of appeal from the District Court’s entry

               of judgment against plaintiffs in Wright et al., v. State of North Carolina, et al.,

               Case No. 5:13-cv-607.

           h. Entry 9 is the fee incurred for obtaining transcripts of the remedy hearing held in

               the above-captioned consolidated matters. The transcript was obtained from

               Huseby, whose reporter was serving as court reporter for the U.S. District Court

               for the Eastern District of North Carolina that day. Only an electronic version of

               the transcript was ordered, and the order was not expedited. The procurement of

               the transcript was necessary for briefing on remedy.

           i. Entry 10 is order granting appellate taxable costs and add those costs to the

               mandate in RWCA, et al., v. Wake County Bd. of Elections, Case No. 16-1270 (L)

               (4th Cir.).

   Pursuant to local rules, a memorandum in support of the Bill for Taxable Costs is being

submitted with the Bill and my declaration. I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge.



   Dated: November 23, 2016.


                                               ____/s/ Allison J. Riggs____________
                                              Allison J. Riggs
                                              N.C. State Bar No. 40028
                                              Southern Coalition for Social Justice
                                              1415 West Highway 54, Suite 101

                                                   5

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                            Durham, NC 27707
                            Telephone: 919-323-3380
                            Fax: 919-323-3942
                            Allison@southerncoalition.org




                               6

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                Appendix A




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                Appendix B




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                Appendix C




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AO 44 (Rev. 04/09)

                                    UNITED STATES DISTRICT COURT
                                                                       for the
                                                        Eastern District
                                                        __________       of North
                                                                     District     Carolina
                                                                              of __________
                                                                                                                   NUMBER
                                                  INVOICE                                                            0160

    TO:       Allison J. Riggs                                                                MAKE CHECK PAYABLE TO:
              Southern Coalition for Social Justice                                             David Collier
              1415 West Highway 54, Suite 101                                                   U.S. District Court, 413 Middle Street
              Durham, NC 27707                                                                  New Bern, NC 28560

           PHONE:         (919) 856-4896                                                     PHONE:        (440) 525-3855
           FAX:

                                                                        TRANSCRIPTS
                                                              DATE ORDERED                                      DATE DELIVERED
      u CRIMINAL                    ✔ CIVIL
                                    u                                             12/18/2015                                 02/03/2016
IN THE MATTER OF (CASE NUMBER AND TITLE)
 Raleigh Wake Citizens Assn, et al. v. Wake County Board of Elections                            Case No. 5:15-CV-00156

                                                                           CHARGES
                                ORIGINAL                                     1ST COPY                     ADDITIONAL COPIES
                                                                                                                                              TOTAL
 CATEGORY
                     PAGES        PRICE @
                                                   SUB
                                                                PAGES         PRICE @
                                                                                              SUB
                                                                                                        PAGES      PRICE @
                                                                                                                                  SUB        CHARGES
                                                  TOTAL                                      TOTAL                               TOTAL

  Ordinary             457          3.65      $ 1,668.05
                                                    0.00                                 $     0.00
                                                                                              0.00                           $     0.00 $ 1,668.05
                                                                                                                                  0.00         0.00

  14-Day                                      $     0.00
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  Expedited                                   $      0.00
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  Daily                                       $      0.00
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  Hourly                                      $     0.00
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  Realtime                                    $     0.00
                                                     0.00                                $    0.00
                                                                                               0.00                                      $         0.00
                                                                                                                                                    0.00

  For proceedings on (Date):                        12/21/2015                                                                   TOTAL $      1,668.05
                                                                                                                                                   0.00

                                                                                             LESS DISCOUNT FOR LATE DELIVERY                           $

                                                                                                         ADD AMOUNT OF DEPOSIT                         $

                                                                                                      AMOUNT DUE (OR REFUND)                 $ 1,668.05
                                                                                                                                                      0.0
                                                            ADDITIONAL INFORMATION
          Full price may be changed only if the transcript is delivered within the required time frame. For example, if an order for expedited transcript
  is not completed and delivered within (7) calendar days, payment would be at the 14-day delivery rate, and if not completed and delivered within
  14 days, payment would be at the ordinary delivery rate.

                                                                 CERTIFICATION
        I certify that the transcript fees charged and page format used comply with the requirements of this court and the Judicial Conference of the
  United States.
SIGNATURE OF OFFICIAL COURT REPORTER                                                                        DATE

  /S/ David J. Collier                                                                                                       02/03/2016

                  DISTRIBUTION:    TO PARTY (2 copies - 1 to be returned with payment)   COURT REPORTER     COURT REPORTER SUPERVISOR




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                Appendix D




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                Appendix E




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Appeal: 16-1270     Doc: 66-1        Filed: 09/06/2016    Pg: 1 of 2                     Total Pages:(1 of 3)


                                                                       FILED: September 6, 2016

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

                                         ___________________

                                            No. 16-1270 (L)
                                           (5:15-cv-00156-D)
                                         ___________________

         RALEIGH WAKE CITIZENS ASSOCIATION; JANNET B. BARNES;
         BEVERLEY S. CLARK; WILLIAM B. CLIFFORD; BRIAN FITZSIMMONS;
         GREG FLYNN; DUSTIN MATTHEW INGALLS; AMY T. LEE; ERWIN
         PORTMAN; SUSAN PORTMAN; JANE ROGERS; BARBARA
         VANDENBERGH; JOHN G. VANDENBERGH; AMYGAYLE L. WOMBLE;
         PERRY WOODS

                        Plaintiffs - Appellants

         v.

         WAKE COUNTY BOARD OF ELECTIONS

                        Defendant - Appellee

         and

         CHAD BAREFOOT, in his official capacity as Senator and primary sponsor of SB
         181; PHILLIP E. BERGER, in his official capacity as President Pro Tempore of
         the North Carolina Senate; TIM MOORE, in his official capacity as Speaker of the
         North Carolina House of Representatives

                        Defendants

                                         ___________________

                                              ORDER
                                         ___________________

                  Costs for these proceedings are taxed and certified in the amount of


                  Case 5:15-cv-00156-D Document 118-1 Filed 11/23/16 Page 19 of 21
Appeal: 16-1270     Doc: 66-1      Filed: 09/06/2016   Pg: 2 of 2                 Total Pages:(2 of 3)


        $2689.80, as itemized in the accompanying bill of costs. The costs taxed shall be

        added to this court's mandate in accordance with Fed. R. App. P. 39(d).

                                               For the Court--By Direction

                                               /s/ Patricia S. Connor, Clerk




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Appeal: 16-1270              66-2
                        Doc: 65-1                     09/06/2016
                                               Filed: 08/17/2016           Pg: 1 of 1                              Total Pages:(3 of 3)


                  U.S. COURT OF APPEALS FOR THE FOURTH CIRCUIT BILL OF COSTS FORM

   Directions: Counsel for a prevailing party seeking costs must file this (or like) form within 14 days after entry of
   judgment. The docketing fee (if the appellant prevails) of $450 if filed prior to 12/01/13 or $500 if filed after 12/01/13
   and the cost of copying formal briefs and appendices are the only costs taxable in the court of appeals. Local Rule 39(a).
   Enter costs for any docketing fee paid and any briefs or appendices filed and served in the spaces provided. The number
   of copies required for filing and service can be found in Local Rules 30(b) & 31(d) and Standing Order 14-01. Any
   objections to costs must be filed within 14 days (plus 3 days for electronic service) of the bill of costs. Costs are paid
   directly to the prevailing party or counsel, not to the clerk’s office.
   Limit on Brief/Appendix Copy Costs: (number of pages) x (number of required filing & service copies) x ($.15/ page)


                         RWCA et al. v. Wake County Bd. of Elections, No. 16-1270, 16-1271, 14-1329
  Case Number & Caption: _____________________________________________________________________________

                                                 Raleigh Wake Citizens Association, et al.
  Prevailing Party Requesting Taxation of Costs: ___________________________________________________________


  Docketing Fee: May be claimed by inserting $450 or $500 at right ($5 filing fee must be claimed in district court)             1500.00
                                                                                                                       Charge: ________

                       05/27/14
  Brief filed on:___________________                       115
                                           No. of Pages: _______                         10
                                                                      x No. of Copies: _______       x $.15/page                  172.50
                                                                                                                       Charge: ________

                      07/18/14
  Brief filed on:___________________                       37
                                           No. of Pages: _______                         10
                                                                      x No. of Copies: _______       x $.15/page                   55.50
                                                                                                                       Charge: ________

                       04/19/16
  Brief filed on:___________________       No. of Pages: _______
                                                           110                            4
                                                                      x No. of Copies: _______       x $.15/page                   66.00
                                                                                                                       Charge: ________

  Brief filed on:___________________
                       04/29/16            No. of Pages: _______
                                                           39         x No. of Copies:_______
                                                                                         4           x $.15/page                   23.40
                                                                                                                       Charge: ________

                        05/27/14
  Appendix filed on:_______________                        100
                                           No. of Pages: _______                         10
                                                                      x No. of Copies: _______       x $.15/page                 150.00
                                                                                                                       Charge: ________

                       04/19/16
  Appendix filed on:_______________                       1204
                                           No. of Pages: _______      x No. of Copies: ______
                                                                                          4          x $.15/page                  722.40
                                                                                                                       Charge: ________

  TOTAL AMOUNT CLAIMED IN BILL OF COSTS                                                                                       $2,689.80


  1. If copying was done commercially, I have attached itemized bills. If copying was done in-house, I certify that my
  standard billing amount is not less than $.15 per copy or, if less, I have reduced the amount charged to the lesser rate.
  2. If costs are sought for or against the United States, I further certify that 28 U.S.C. § 2412 or other statutory authority
  permits an award of costs in this case.
  3. I declare under penalty of perjury that the foregoing costs are true and correct and were necessarily incurred in this
  action.

             /s/ Allison J. Riggs
  Signature: ______________________________________                                      08/17/16
                                                                         Date: _______________________________________


                                                        Certificate of Service

  I certify that on this date I served this document as follows:
   This document was served today on all counsel who filed a notice of appearance in Case No. 16-1270 or any of the
   consolidated cases, via this Court's electronic filing system.



             /s/ Allison J. Riggs
  Signature: ______________________________________                                           08/17/16
                                                                         Date: _______________________________________




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  09/01/2014 PSC/ SCC
